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   Attorneys for Defendant
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   NATIONAL COLLEGIATE ATHLETIC ASSOCIATION
15

16                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF CALIFORNIA
17                          OAKLAND DIVISION
18
   IN RE COLLEGE ATHLETE NIL              Case No. 4:20-cv-03919-CW
19 LITIGATION
                                          DECLARATION OF RAKESH KILARU
20                                        IN SUPPORT OF DEFENDANTS’ JOINT
                                          OPPOSITION TO PLAINTIFFS’
21
                                          MOTION FOR CLASS
22                                        CERTIFICATION AND DEFENDANTS’
                                          MOTION TO EXCLUDE THE
23                                        OPINIONS OF EDWIN DESSER AND
                                          DANIEL RASCHER
24
                                          Date: Sept. 21, 2023
25
                                          Time: 2:30 PM
26                                        Trial Date:   Jan. 27, 2025
                                          Judge: Hon. Claudia Wilken
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                                          Decl. of Rakesh Kilaru in Supp. of Defendants’ Joint Opp.
                                             to Plaintiffs’ Mot. for Class Cert. and Daubert Motion
                                                                       Case No. 4:20-cv-03919-CW
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 1          I, Rakesh Kilaru, declare as follows:

 2          I am a partner at the law firm of Wilkinson Stekloff LLP and represent the NCAA

 3 Defendants in this litigation. I submit this declaration in support of the Defendants’ Joint Opposition

 4 to Plaintiff’s Motion for Class Certification. I have personal knowledge of the facts set forth in this

 5 declaration and, if called as a witness, could and would testify competently thereto. I am admitted

 6 pro hac vice to practice before the United States Northern District of California in this litigation.

 7      1. Attached hereto as Exhibit 1 is a true and correct copy of the expert report of Catherine

 8          Tucker, dated April 28, 2023.

 9      2. Attached hereto as Exhibit 2 is a true and correct copy of the expert report of Bob Thompson,
10          dated April 28, 2023.
11      3. Attached hereto as Exhibit 3 is a true and correct copy of the expert report of Barbara
12          Osborne, dated April 27, 2023.
13      4. Attached hereto as Exhibit 4 is a true and correct copy of Name, Image and Likeness Policy
14          Question     and    Answer       produced        by      the     NCAA        with      Bates-number
15          NCAAHOUSE00196365.
16      5. Attached hereto as Exhibit 5 is a true and correct copy of transcript excerpts from the
17          deposition of Plaintiff Sedona Prince, taken on January 19, 2023.
18      6. Attached hereto as Exhibit 6 is a true and correct copy of the transcript from the deposition
19          of Plaintiffs’ sports media expert Edwin Desser, taken on January 12, 2023.
20      7. Attached hereto as Exhibit 7 is a true and correct copy of the transcript from the deposition

21          of Plaintiff’s economics expert Daniel A. Rascher, taken January 10, 2023.

22      8. Attached hereto as Exhibit 8 is a true and correct copy of a Letter from the Office for Civil

23          Rights to Bowling Green University dated July 23, 1998 (OCR-00020), available at

24          https://www2.ed.gov/print/about/offices/list/ocr/docs/bowlgrn.html.

25      9. Attached hereto as Exhibit 9 is a true and correct copy of transcript excerpts from the

26          deposition of Plaintiff Grant House, taken on February 10, 2023.

27      10. Attached hereto as Exhibit 10 is a true and correct copy of transcript excerpts from the

28          deposition of Plaintiff Tymir Oliver, taken on January 23, 2023.
                                                        1
                                                            Decl. of Rakesh Kilaru in Supp. of Defendants’ Joint Opp.
                                                               to Plaintiffs’ Mot. for Class Cert. and Daubert Motion
                                                                                         Case No. 4:20-cv-03919-CW
     Case 4:20-cv-03919-CW Document 251 Filed 04/28/23 Page 3 of 5


 1   11. Attached hereto as Exhibit 11 is a true and correct copy of email exchanges between EA

 2      employees, produced by third party Electronic Arts, Inc. with Bates-number

 3      EA_NIL_00001875.

 4   12. Attached hereto as Exhibit 12 is a true and correct copy of email exchanges between EA

 5      employees, produced by third party Electronic Arts, Inc. with Bates-number

 6      EA_NIL_00001243.

 7   13. Attached hereto as Exhibit 13 is a true and correct copy of email exchanges between EA

 8      employees, produced by third party Electronic Arts, Inc. with Bates-number

 9      EA_NIL_00006067.
10   14. Attached hereto as Exhibit 14 is a true and correct copy of email exchanges between EA
11      employees, produced by third party Electronic Arts, Inc. with Bates-number

12      EA_NIL_00000268.

13   15. Attached hereto as Exhibit 15 is a true and correct copy of email exchanges between EA

14      employees, produced by third party Electronic Arts, Inc. with Bates-number

15      EA_NIL_00005410.

16   16. Attached hereto as Exhibit 16 is a true and correct copy of email exchanges between EA

17      employees, produced by third party Electronic Arts, Inc. with Bates-number

18      EA_NIL_00000149.

19   17. Attached hereto as Exhibit 17 is a true and correct copy of email exchanges between EA
20      employees, produced by third party Electronic Arts, Inc. with Bates-number

21      EA_NIL_00001462.

22   18. Attached hereto as Exhibit 18 is a true and correct copy of email exchanges between EA

23      employees, produced by third party Electronic Arts, Inc. with Bates-number

24      EA_NIL_00000121.

25   19. Attached hereto as Exhibit 19 is a true and correct copy of email exchanges between EA

26      employees, produced by third party Electronic Arts, Inc. with Bates-number

27      EA_NIL_00000158.

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                                                    Decl. of Rakesh Kilaru in Supp. of Defendants’ Joint Opp.
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                                                                                 Case No. 4:20-cv-03919-CW
     Case 4:20-cv-03919-CW Document 251 Filed 04/28/23 Page 4 of 5


 1   20. Attached hereto as Exhibit 20 is a true and correct copy of email exchanges between EA

 2      employees, produced by third party Electronic Arts, Inc. with Bates-number

 3      EA_NIL_00001239.

 4   21. Attached hereto as Exhibit 21 is a true and correct copy of email exchanges between EA

 5      employees, produced by third party Electronic Arts, Inc. with Bates-number

 6      EA_NIL_00006071.

 7   22. Attached hereto as Exhibit 22 is a true and correct copy of email exchanges between EA

 8      employees, produced by third party Electronic Arts, Inc. with Bates-number

 9      EA_NIL_00005288.
10   23. Attached hereto as Exhibit 23 is a true and correct copy of transcript excerpts from the
11      deposition of the Commissioner of the Big Ten Conference, James Delany, taken on
12      September 20, 2022.
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                                                     Decl. of Rakesh Kilaru in Supp. of Defendants’ Joint Opp.
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 1         I declare under penalty of perjury under the laws of the United States of America that the

 2 foregoing is true and correct.

 3         EXECUTED on this 28th day of April 2023 in Washington, D.C.

 4                                                   Respectfully submitted,

 5
                                                     /s/ Rakesh N. Kilaru________
 6                                                   Rakesh N. Kilaru (admitted pro hac vice)
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